O AO 456 (Rev. 5/85) Notice



                                   UNITED STATES DISTRICT COURT
                         MIDDLE                         DISTRICT                      TENNESSEE

          UNITED STATES OF AMERICA
                                                               NOTICE
                              V.
                                                               CASE NUMBER: 2:19-cr-00013
           GEORGIANNA A.M. GIAMPIETRO

TYPE OF CASE:
                               G CIVIL              x    CRIMINAL

X TAKE NOTICE that a proceeding in this case has been set for the place, date, and time set forth below:
PLACE                                                       ROOM NO.
U.S. District Court                                         Courtroom No.774, MAGISTRATE JUDGE NEWBERN
801 Broadway                                                DATE AND TIME

Nashville, TN 37203                                         Tuesday, January 18, 2022, at 11:30 a.m.
TYPE OF PROCEEDING



Arraignment and Waiver of Indictment proceedings



      TAKE NOTICE that a proceeding in this case has been continued as indicated below:

PLACE                          DATE AND TIME PREVIOUSLY     CONTINUED TO DATE
                               SCHEDULED                    AND TIME




                                                            ALISTAIR E. NEWBERN, U.S. Magistrate Judge
                                                            U.S. MAGISTRATE JUDGE OR CLERK OF COURT


January 14, 2022                                               Sarah Dixon Russell
DATE                                                        (BY) DEPUTY CLERK




TO:      AUSA Phil Wehby
         Attorney Peter Strianse, Charles Swift, and Linda Moreno
         Probation
         Marshal



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